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Case: 1:01-cr-00003 Document #: 552 Filed: 12/21/21 Page 2 of 12 PageID #:3011
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Case: 1:01-cr-00003 Document #: 552 Filed: 12/21/21 Page 5 of 12 PageID #:3014
Case: 1:01-cr-00003 Document #: 552 Filed: 12/21/21 Page 6 of 12 PageID #:3015
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Case: 1:01-cr-00003 Document #: 552 Filed: 12/21/21 Page 8 of 12 PageID #:3017
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